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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
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                                                                :   Chapter 11
In re:                                                          :
                                                                :   Case No. 18-12491 (CSS)
PROMISE HEALTHCARE GROUP, LLC, et al.,1 :
                                                                :   (Jointly Administered)
                  Debtors.                                      :
                                                                :   Related D.I. 1323
                                                                :   Hearing Dates: August 23, 2019 at 10:00 a.m. (ET)
                                                                                    August 27, 2019 at 1:00 p.m. (ET)
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                                          NOTICE OF HEARINGS

          PLEASE TAKE NOTICE that on August 9, 2019, Promise Healthcare Group, LLC and
its affiliated debtors and debtors in possession (collectively, the “Debtors”) filed the Motion of the
Debtors for Entry of an Order (I) Authorizing the Sale of Certain Louisiana Facilities and Related
Assets Free and Clear of All Liens, Claims, Interests, and Encumbrances, (II) Authorizing the
Sellers to Assume and Assign Certain Executory Contracts and Unexpired Leases, and (III)
Granting Other Related Relief [D.I. 1323] (the “Sale Motion”) with the United States Bankruptcy
Court for the District of Delaware (the “Court”).

       PLEASE TAKE FURTHER NOTICE that the Court held a hearing on August 20, 2019
to consider the Sale Motion (the “Hearing”). At the Hearing, the Court adjourned of the Sale
Motion to a date to be dertermined.

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  The Debtors in these Chapter 11 Cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Promise Healthcare #2, Inc. (1913),
Promise Healthcare Group, LLC (1895), Promise Healthcare Holdings, Inc. (2601), Bossier Land Acquisition Corp.
(6644), HLP of Los Angeles, LLC (9102), HLP of Shreveport, Inc. (1708), HLP Properties at The Villages Holdings,
LLC (0006), HLP Properties at the Villages, L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP Properties,
Inc. (0068), Promise Healthcare of California, Inc. (9179), Promise Healthcare, Inc. (7953), Promise Hospital of
Ascension, Inc. (9219), Promise Hospital of Baton Rouge, Inc. (8831), Promise Hospital of Dade, Inc. (7837), Promise
Hospital of Dallas, Inc. (0240), Promise Hospital of East Los Angeles, L.P. (4671), Promise Hospital of Florida at
The Villages, Inc. (2171), Promise Hospital of Louisiana, Inc. (4886), Promise Hospital of Lee, Inc. (8552), Promise
Hospital of Overland Park, Inc. (5562), Promise Hospital of Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc.
(0659), Promise Hospital of Vicksburg, Inc. (2834), Promise Hospital of Wichita Falls, Inc. (4104), Promise Properties
of Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065), Promise Properties of Shreveport, LLC (9057), Promise
Skilled Nursing Facility of Overland Park, Inc. (5752), Promise Skilled Nursing Facility of Wichita Falls, Inc. (1791),
Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203), St. Alexius Hospital Corporation #1 (2766), St.
Alexius Properties, LLC (4610), Success Healthcare 1, LLC (6535), Success Healthcare 2, LLC (8861), Success
Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC (4947), LH Acquisition, LLC (2328), Promise Behavioral
Health Hospital of Shreveport, Inc. (1823), Promise Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center
at the Villages, Inc. (7529), and PHG Technology Development and Services Company, Inc. (7766). The mailing
address for the Debtors, solely for purposes of notices and communications, is 999 Yamato Road, 3rd FL, Boca Raton,
FL 33431.



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        PLEASE TAKE FURTHER NOTICE that on August 21, 2019, the Court set a
telephonic hearing before The Honorable Christopher S. Sontchi to discuss scheduling regarding
the adjourned hearing date for the Sale Motion. At the telephonic hearing, the Court scheduled
further hearings on the Sale Motion for August 23, 2019 at 10:00 a.m. (ET) and August 27, 2019
at 1:00 p.m. (ET).

Dated: August 21, 2019                     Respectfully submitted,
       Wilmington, Delaware
                                           DLA PIPER LLP (US)

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                                           Attorneys for the Debtors and
                                           Debtors in Possession




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